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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                           CRIMINAL ACTION NO. 11-10294-GAO

                               UNITED STATES OF AMERICA

                                                v.

                                        DAVID KEITH,
                                          Defendant.


                                    OPINION AND ORDER
                                      November 5, 2013

O’TOOLE, D.J.

       The defendant, David Keith, is charged with distribution of child pornography in

violation of 18 U.S.C. § 2252(a)(2) and possessing and accessing child pornography in violation

of 18 U.S.C. § 2252(a)(4)(B). He has moved to suppress physical evidence and statements

obtained as the result of a search of his residence by the Massachusetts State Police pursuant to a

warrant.

       The application for the warrant relied on two distinct sources of information for a

showing of probable cause. First, in December 2009, the National Center for Missing and

Exploited Children (“NCMEC”) made available to the Massachusetts State Police a

“CyberTipline” report indicating that a computer that eventually was linked to the defendant’s

residence was likely the source of an emailed file that contained what appeared to be child

pornography meeting the federal criminal definition. 1 Second, on July 29, 2010, employees of a

Staples store in New Hampshire notified local police that a laptop computer left for repair



1
  It appears that other similar reports were subsequently made available to the State Police. The
parties have focused only on the December 2009 report, identified by the number 759801, and so
I do likewise.
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contained files with filenames apparently describing child pornography. The work order for the

Staples laptop listed the defendant’s name and his residential address in Haverhill,

Massachusetts. When later questioned by the police in New Hampshire, the defendant admitted

both that the Staples laptop was his and that he had seen and downloaded files depicting images

of children as young as eight years old engaging in sexual activity. The New Hampshire police

ultimately shared with the Massachusetts State Police information they had gathered in their

investigation, including some evidence from a warranted search of the laptop. Relying on both

the NCMEC CyberTipline report and the information from the New Hampshire police, the

Massachusetts State Police applied for and obtained a search warrant for the defendant’s

residence, which was executed on September 17, 2010. The search yielded incriminating

information, and the defendant also made incriminating admissions after having been advised of

his Miranda rights.

I.     The CyberTipline Report

       The following factual findings are based on the parties’ written submissions and

testimony given at an evidentiary hearing.

       America Online (“AOL”), which may be described variously as an electronic service

provider (“ESP”) and an internet service provider (“ISP”), provides an email service for

subscribers. To prevent its communications network from serving as a conduit for illicit activity,

AOL systematically attempts to identify suspected child pornography that may be sent through

its facilities. It uses an Image Detection and Filtering Process (“IDFP”) of its own devise which

compares files embedded in or attached to transmitted emails against a database containing what

is essentially a catalog of files that have previously been identified as containing child

pornography.



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        Commonly, AOL may be alerted that an image or video file being transmitted through its

facilities likely contains child pornography by a complaint from a customer. When AOL receives

such a complaint, an employee called a “graphic review analyst” opens and looks at the image or

video file and forms an opinion whether what is depicted likely meets the federal criminal

definition of child pornography. If the employee concludes that the file contains child

pornography, a hash value of the file is generated automatically by operation of an algorithm

designed for that purpose. A hash value is an alphanumeric sequence that is unique to a specific

digital file. Any identical copy of the file will have exactly the same hash value as the original,

but any alteration of the file, including even a change of one or two pixels, would result in a

different hash value. Consequently, once a file has been “hashed,” a suspected copy can be

determined to be identical to the original file if it has the same hash value as the original, and not

to be identical if it has a different hash value.

        AOL maintains a “flat file” database of hash values of files that AOL has at some time

concluded contain child pornography. It does not maintain the actual files themselves; once a file

is determined to contain child pornography, it is deleted from AOL’s system. When AOL detects

a file passing through its network that has the same hash value as one in the flat file database,

AOL reports that fact to NCMEC via the latter’s CyberTipline. By statute, an ESP or ISP such as

AOL has a duty to report to NCMEC any apparent child pornography it discovers “as soon as

reasonably possible.” 18 U.S.C. § 2258A(a)(1). The CyperTipline report transmits the

intercepted file to NCMEC, but no AOL employee opens or views the file. AOL’s decision to

report a file to NCMEC is made solely on the basis of the match of the hash value of the file to a

stored hash value.




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       A CyberTipline report is typically created by direct upload to NCMEC’s server through a

facility made available by NCMEC to an ESP such as AOL specifically for that purpose. After a

report is received, a NCMEC analyst opens and views the file to determine whether its content

meets the federal criminal definition of child pornography. If it is determined that the file

contains child pornography, the NCMEC analyst queries the email sender’s internet protocol

(“IP”) address using conventional “open source” search engines to try to identify the sender’s

geographic location, as well as the ISP through which the sender accesses the internet. When the

general geographic location and the relevant ISP for the computer of interest have been

determined, the NCMEC analyst adds the report containing the file to a database that is

accessible only to law enforcement agencies in the identified geographic location via a virtual

private network (“VPN”) that is dedicated to that use.

       In this case, AOL identified a suspect file in an email sent on November 26, 2009. The

following day, AOL uploaded a CyberTipline report that contained the file to NCMEC’s server.

In accordance with its practice, no AOL employee opened or viewed the file before it was

forwarded to NCMEC. Rather, it was forwarded solely because its hash value matched a hash

value in AOL’s flat file database. Nothing is known about how the file came to be originally

hashed and added to the flat file database, except that it was AOL’s practice to hash and add to

the database either the hash value of any file that was identified by one of its graphic file analysts

as containing child pornography or a hash value similarly generated by a different ESP or ISP

and shared with AOL. 2




2
  AOL and other similar electronic service providers share with each other the hash values of
suspected or identified child pornography. It is possible that the hash value of a suspect file was
initially generated by another provider and then shared with AOL.
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       After the file was received at NCMEC, an analyst opened and examined the image file,

determined that it met the criteria for classification as child pornography, investigated the IP

address from which the offending email originated, and determined that the IP address was

located within Massachusetts. NCMEC then created the CyberTipline report and made it

accessible to law enforcement personnel in Massachusetts through the dedicated VPN, along

with information about the email sender’s IP address and ISP. Subsequently subpoenaed records

from the ISP associated the IP address with a computer at the defendant’s residential address in

Haverhill, Massachusetts. The Massachusetts State Police also independently matched the IP

address to the defendant’s address.

II.    NCMEC and Its CyberTipline

       According to a statement on its website, NCMEC

       was established in 1984 as a private, nonprofit 501(c)(3) organization. NCMEC
       works in partnership with the U.S. Department of Justice to help law enforcement
       find missing children, eliminate child sexual exploitation and prevent child
       victimization.

About Us – Congressional Authorization, NCMEC, http://www.missingkids.com/Authorization

(last visited Nov. 4, 2013). The “partnership” is reflected in an explicit statutory finding by the

United States Congress:

       The Congress finds that–

       *        *      *

       (8) the Office of Juvenile Justice and Delinquency Prevention administers
       programs under this chapter through the Child Protection Division, including
       programs which prevent or address offenses committed against vulnerable
       children and which support missing children’s organizations; and

       (9) a key component of such programs is the National Center for Missing and
       Exploited Children, which–

             (A) serves as a national resource center and clearinghouse;

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             (B) works in partnership with the Department of Justice, the Federal Bureau
             of Investigation, the United States Marshals Service, the Department of the
             Treasury, the Department of State, the Bureau of Immigration and Customs
             Enforcement, the United States Secret Service, the United States Postal
             Inspection Service, and many other agencies in the effort to find missing
             children and prevent child victimization; and

             (C) operates a national network, linking the Center online with each of the
             missing children clearinghouses operated by the 50 States, the District of
             Columbia, and Puerto Rico, as well as with international organizations,
             including Scotland Yard in the United Kingdom, the Royal Canadian
             Mounted Police, INTERPOL headquarters in Lyon, France, and others,
             which enable the Center to transmit images and information regarding
             missing and exploited children to law enforcement across the United States
             and around the world instantly.

42 U.S.C. § 5771. To support this work of the Center, Congress has mandated funding for the

Center by means of annual grants administered through the Office of Juvenile Justice and

Delinquency Prevention of the Department of Justice. See id. § 5773(b). One of the purposes of

the annual grant is specifically to support NCMEC’s CyberTipline:

       The Administrator shall annually make a grant to the Center, which shall be used
       to–

       *         *       *

             (P) operate a cyber tipline to provide online users and electronic service
             providers an effective means of reporting Internet-related child sexual
             exploitation in the areas of–

                 (i) possession, manufacture, and distribution of child pornography;

                 *       *       *

             and subsequently to transmit such reports, including relevant images and
             information, to the appropriate international, Federal, State or local law
             enforcement agency for investigation;

             *       *       *




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Id. § 5773(b)(1). As noted above, the CyberTipline is supported by the statutory mandate that

any ESP that discovers what appears to be child pornography must report that fact and its

surrounding circumstances to the CyberTipline. 18 U.S.C. § 2258A(a). A knowing failure by an

ESP to make such a report is punishable by a fine. Id. § 2258A(e). When it receives such a report

via the CyberTipline, NCMEC must forward it to an appropriate federal law enforcement

agency, and is authorized to do likewise with respect to state law enforcement agencies. Id. §

2258A(c).

        According to NCMEC’s annual report, for the year ending December 31, 2012, NCMEC

received government contracts and grants slightly in excess of $36 million, approximately 70%

of its total revenue for the year from all sources. 2012 Annual Report, NCMEC,

www.missingkids.com/en_US/publications/NC171.pdf (last visited Nov. 4, 2013). It also

receives annual donations from private citizens. For 2012, private contributions were

approximately $7.7 million, a little over 15% of total revenue from all sources. Id.

        In addition to the CyberTipline, NCMEC also administers a number of other programs

relating to missing and exploited children which are not directly relevant to the issues presented

in this case.

III.    Expectation of Privacy in the Contents of Emails

        The defendant attacks the inspections of his intercepted email by both AOL and NCMEC

respectively as violations of his right “to be secure in [his] . . . papers[] and effects, against

unreasonable searches and seizures” guaranteed by the Fourth Amendment. A “search” for

purposes of the Fourth Amendment occurs when there has been a governmental intrusion into a

place or thing as to which a person has a reasonable expectation of privacy. Put another way, the




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inquiry is whether the defendant had a subjective expectation of privacy in the place or thing that

society recognizes as reasonable. Kyllo v. United States, 533 U.S. 27, 33 (2001).

       Email has become one of the most common forms of communication, but courts have yet

to come to a consensus regarding whether and to what extent a sender has, for Fourth

Amendment purposes, a reasonable expectation of privacy in email committed to the custody of

an ISP. See, e.g., Rehberg v. Paulk, 611 F.3d 828, 846 (11th Cir. 2010), aff’d, 132 S. Ct. 1497

(2012) (“[W]hether [the defendant] had a reasonable privacy expectation in the contents of his

personal emails sent voluntarily through that third-party ISP, are complex, difficult, and ‘far-

reaching’ legal issues”) (collecting cases). There are some perhaps useful analogs from other

methods of transmitting communications. So, for example, while there is not a reasonable

expectation of privacy in the matter on the outside of a mailed envelope, there is as to the letter

sealed inside, see Ex Parte Jackson, 96 U.S. 727, 733 (1877), and while there is not a reasonable

expectation of privacy in the numbers dialed from a telephone, see Smith v. Maryland, 442 U.S.

735, 745 (1979), there is as to the conversation itself, see Katz v. United States, 389 U.S. 347,

352 (1967). Following the principles at work in these and similar cases, one might conclude that

a sender of emails has a reasonable expectation of privacy in some aspects of the email, such as

the contents of the message including embedded or attached files, but not in other aspects, such

as the address header and various metadata.

       In any event, the government has not taken the position that the defendant lacked a

legitimate privacy interest in the contents of the emailed file, and so it is assumed for present

purposes that he had such an interest. That being so, any governmental invasion of that privacy

interest would be a “search” for Fourth Amendment purposes.




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IV.    Private or Governmental Search?

       “The Fourth Amendment’s protection against unreasonable searches and seizures applies

only to government action and not to a search or seizure, even an unreasonable one, effected by a

private individual not acting as an agent of the government.” United States v. Silva, 554 F.3d 13,

18 (1st Cir. 2009) (citations and internal quotation marks omitted). The defendant argues that

neither AOL nor NCMEC was acting as a private party in screening and examining the email file

because each was acting under a statutory duty or compulsion and thus must be considered to

have been effectively a government agent. Therefore, he contends, their searches are to be

regarded as having been conducted by the government for purposes of enforcing the criminal law

and thus were subject to the requirements of the Fourth Amendment.

       Under First Circuit precedent, whether a private party is acting effectively as an agent of

the government in conducting a search is evaluated against three principal factors: (1) “the extent

of the government’s role in instigating or participating in the search”; (2) “[the government’s]

intent and the degree of control it exercises over the search and the private party”; and (3) “the

extent to which the private party aims primarily to help the government or to serve its own

interests.” Silva, 554 F.3d at 18.

       AOL’s comparison of the hash value of the file transmitted from the defendant’s

computer with its database of stored hash values of files thought to contain child pornography

was not a search conducted by or on behalf of the government. None of the so-called “Silva

factors” are present. Contrary to the defendant’s suggestion, AOL is not required by law to

monitor email traffic for possible child pornography, 18 U.S.C. §2258A(f), but only to report it

when it is found, id. § 2258A(a). The government exercises no control over AOL’s monitoring of

its network. Most importantly, the evidence considered on the present motion established, and I



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find, that AOL is motivated by its own wholly private interests in seeking to detect and deter the

transmission of child pornography through its network facilities. An AOL representative testified

at the evidentiary hearing held on the present motion that AOL had an important business reason

for its IDFP filtering process:

       We found that, again, providing a safer, more family-friendly environment for our
       users sustains our ability to keep our members. We’ve noticed when members call
       and say, “I want to discontinue my AOL service,” we usually ask them why. And
       there are many reasons why somebody may want to leave, but one of these that
       we’re routinely concerned about is objectionable content sent to them through our
       servers by other members or other Internet users. So they end up leaving AOL
       because of this bad content. So as a business, we would like to actually keep the
       members who complain about it and have a countermeasure against those who do
       it.

(Tr. of Evidentiary Hr’g at 67-68 (dkt. no. 53).) This legitimate business interest is distinct from

the government’s interest in prosecuting crime, and the Silva factors are not met. 3 Cf. United

States v. Cameron, 699 F.3d 621, 637-38 (1st Cir. 2012) (holding that Yahoo!, Inc. did not act as

a government agent in searching the defendant’s email and sending reports to NCMEC).

       On the other hand, NCMEC’s examination of the file uploaded by AOL to the NCMEC

CyberTipline was a search conducted for the sole purpose of assisting the prosecution of child

pornography crimes. NCMEC’s goal in operating the CyberTipline is a worthy and laudable one,

but it is one that it pursues in “partnership,” 42 U.S.C. § 5771(9)(B), with the government.

Unlike AOL, which monitors its email traffic to serve its own business interest, NCMEC’s

operation of the CyberTipline is intended to, and does, serve the public interest in crime

prevention and prosecution, rather than a private interest.




3
  The “search” of the defendant’s laptop computer by Staples employees in July 2010 was also
clearly a private search, one in fact invited by the defendant’s delivery of the machine to them
for their examination. The defendant does not contend otherwise.
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       The Silva factors are satisfied. Through congressional authorization and funding of the

CyberTipline, the government “instigat[es]” such searches. Silva, 544 F.3d at 18. A statutory

provision requires NCMEC to report discovered child pornography to federal law enforcement,

and another encourages similar reporting to state and foreign law enforcement agencies. 18

U.S.C. § 2258A(c)(1)-(2). This requirement addresses the “control” factor identified by the First

Circuit. Silva, 554 F.3d at 18. Finally, the CyberTipline serves no private purpose for NCMEC

separate from assisting law enforcement, the third Silva factor. Id.

       While not directly addressing the question presented here, the First Circuit has noted that

NCMEC reviews suspected files and “conducts an online search regarding the provided suspect

information . . . aimed at identifying the appropriate law enforcement agency with jurisdiction to

investigate the suspected child pornography activity.” Cameron, 699 F.3d at 633. The court

further observed that “[a]lthough NCMEC is not officially a government entity, it receives a

grant from the government, and one of the uses to which NCMEC puts this grant money is to

operate the CyberTipline and forward reports of child pornography to law enforcement.” Id. at

644 (citing 42 U.S.C. § 5773(b)(1)(P)). The “partnership” between NCMEC and law

enforcement with respect to the operation of the CyberTipline is not just rhetorical but real.

Members of law enforcement serve on various NCMEC boards, and U.S. Marshals and other law

enforcement personnel provide on-site support and referral assistance for NCMEC’s Exploited

Child Division. As noted above, NCMEC makes the results of its examination of suspected files

available exclusively to federal and state law enforcement officials by means of a dedicated

VPN, accessible only to law enforcement personnel. It is clear that NCMEC’s CyberTipline is,

and is intended by Congress to be, an integral part of the governmental effort to detect and

prosecute child pornography crimes. Cf. Skinner v. Ry. Labor Execs. Ass’n, 489 U.S. 602, 615



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(1989) (holding that drug testing was not a private search where the “Government has removed

all legal barriers to the testing . . . and indeed has made plain not only its strong preference for

testing, but also its desire to share the fruits of such intrusions”).

        If AOL had sent the file directly to the FBI or the State Police instead of to NCMEC’s

CyberTipline, it could not seriously be contended that the law enforcement agency could open

and inspect the contents of the file without regard to the Fourth Amendment’s warrant

requirement. 4 See Walter v. United States, 447 U.S. 649 (1980). In Walter, a package containing

boxes of film was mistakenly delivered to a private company. The company’s employees opened

the package and saw that the individual boxes bore outside labeling suggesting that they

contained obscene material. They notified FBI agents, who took custody of the boxes, opened

them, and viewed the films, confirming what the outside labeling suggested. Id. at 651-52. The

Court held that the opening and viewing of the films by the FBI was an expansion of the private

search that required a warrant. Id. at 660. Although the media in which criminally obscene

material was stored are different in Walter and this case, the pattern is the same. A label (here,

hash value) that is examined without opening the film or file suggested the nature of the

contents. For that reason, concerned private parties provided the film or file to the government

without first reviewing the contents themselves. Government personnel then examined the



4
  The Fourth Amendment forbids “unreasonable” searches. Ordinarily, and especially in the
criminal context, a search is not “reasonable” under the Fourth Amendment unless it has been
authorized in advance by a warrant issued upon probable cause. See Payton v. New York, 445
U.S. 573, 586 (1980). However, the Supreme Court has held that in certain cases there may be an
exception to the requirement of a warrant, “where ‘special needs, beyond the normal need for
law enforcement, make the warrant and probable-cause requirement impracticable.’” Griffin v.
Wisconsin, 483 U.S. 868, 873 (1987) (citation omitted). In such cases, other means than the
warrant requirement may adequately serve to protect Fourth Amendment interests. See Donovan
v. Dewey, 452 U.S. 594, 598-99 (1981). The government has not argued that the “special needs”
exception to the warrant requirement could or should be applicable here, and accordingly I do
not consider that question.
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contents of the film or file by opening and viewing it. Walter holds that the examination should

not have been done without due compliance with the warrant requirement imposed by the Fourth

Amendment. The only possibly significant difference between the circumstances in Walter and

here is that instead of a direct employee of the FBI or State Police performing the examination,

an outside contractor performed the examination for the benefit of the law enforcement agency.

There is nothing wrong with the government outsourcing part of its investigative work to a

private cooperating partner, but doing so does not avoid the obligation to abide by the

requirements of the Fourth Amendment.

       The government weakly argues that a NCMEC analyst’s viewing of the contents of the

file was not an expansion of AOL’s private search, citing United States v. Jacobsen, 466 U.S.

109 (1984). In that case, FedEx employees opened a damaged box for private, non-governmental

reasons, discovered what appeared to be cocaine, and contacted the Drug Enforcement

Administration. The FedEx employees put the contents back in the box. When DEA agents

arrived, they reopened the package and removed the cocaine. Id. at 111. In these circumstances,

the Supreme Court held there had been no separate search by the police to which the Fourth

Amendment applied. Id. at 120. An argument that Jacobsen is factually similar to this case is

untenable in light of the testimony given at the evidentiary hearing. It is indisputable that AOL

forwarded the suspect file only because its hash value matched a stored hash value, not because

some AOL employee had opened the file and viewed the contents. The NCMEC analyst

expanded the review by opening the file and viewing (and evaluating) its contents. Walter, and

not Jacobsen, is the better analog.

       In this regard it is worth noting that matching the hash value of a file to a stored hash

value is not the virtual equivalent of viewing the contents of the file. What the match says is that



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the two files are identical; it does not itself convey any information about the contents of the file.

It does say that the suspect file is identical to a file that someone, sometime, identified as

containing child pornography, but the provenance of that designation is unknown. So a match

alone indicts a file as contraband but cannot alone convict it. That is surely why a CyberTipline

analyst opens the file to view it, because the actual viewing of the contents provides information

additional to the information provided by the hash match. This is unlike what the Court found the

case to be in Jacobsen, where the subsequent DEA search provided no more information than

had already been exposed by the initial FedEx search. Jacobsen is inapposite.

V.     New Hampshire Investigation of the Staples Laptop

       On July 29, 2010, employees in a Staples store in Plaistow, New Hampshire alerted local

police that a laptop computer left for repair contained files with filenames suggesting that they

contained child pornography. It does not appear that the Staples employees actually viewed any

of the files. The work order for the Staples laptop listed the defendant’s name and Haverhill

address. On August 10, 2010, a Plaistow police officer questioned the defendant, who admitted

both that the Staples laptop was his and that he had seen and downloaded upwards of fifty files

depicting images of children as young as eight years old engaging in sexual activity. The officer

then applied for and obtained a state warrant to search the laptop. According to the affidavit of

Massachusetts State Trooper Michael Murphy submitted in support of his application for the

warrant for the search at issue here, the forensic examination of the laptop pursuant to the New

Hampshire warrant revealed online chat messages suggesting possible sexual abuse of a minor

living in the defendant’s house. Police independently confirmed that the minor in question did

live there. The search also discovered a photographic image of the defendant in the vicinity of




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computer equipment other than the laptop. The Plaistow police contacted the Haverhill police

who contacted Trooper Murphy, conveying the information from the investigation of the laptop.

VI.    The Application for and Execution of the Search Warrant

       Trooper Murphy applied for the warrant for the search at issue here relying on both the

NCMEC CyberTipline reports and evidence from the Staples laptop investigation. A warrant

issued, and Massachusetts State Police executed it on September 17, 2010, recovering physical

evidence the government expects to be useful in the present prosecution. The defendant also was

advised of his Miranda rights and questioned. Again, he made statements admitting to the

possession of child pornography.

       The defendant contends that because Trooper Murphy’s affidavit relied on information

obtained in violation of the Fourth Amendment by NCMEC in the course of its CyberTipline

examination of the suspect file, the application was tainted by unlawfully obtained information

and the search warrant was improperly issued. He further argues that if the CyberTipline

information is excluded, the affidavit does not sufficiently establish probable cause for the search

of his residence. I disagree.

       There was a sufficient factual basis to support probable cause if only the information

from the investigation of the Staples laptop were to be considered. Paragraphs 10 through 12 of

Trooper Murphy’s affidavit present facts from the laptop investigation. Those facts include that

Staples personnel had discovered possible files containing child pornography on a laptop, that

the Staples work order named the defendant as the owner of the laptop and gave a Haverhill

address that other information independent of the CyberTipline report indicated was the

defendant’s address, that in a subsequent interview with Plaistow police the defendant “admitted

that the Toshiba laptop referenced above is his and that he has seen and downloaded images of



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children as young as 8 years old engaged in sexual activity,” that a forensic examination of the

computer at the request of the Plaistow police “recovered multiple online chat messages with

various individuals discussing the possible sexual abuse of a child living in the home of David

Keith,” that it was independently confirmed that a child with the same name used in the chats did

reside there, and that a recovered photograph showed the defendant in proximity to computer

equipment other than the searched laptop. (See Def.’s Mem. in Supp. of Mot. to Suppress

Evidence, Ex. 3 (“Search Warrant Affidavit”) at 6-7 (dkt. no. 23-3).) Based on these facts, the

magistrate could properly have determined that probable cause existed that evidence of computer

based child pornography crimes could be found at the Keith residence. Moreover, although the

record may not be entirely clear on this point, Trooper Murphy’s affidavit indicates that he

attached the affidavit that Sergeant Caggiano of the Plaistow police had submitted to a New

Hampshire court to obtain a warrant to search the laptop. That affidavit supplies further specifics,

including the highly suggestive names of some of the files on the laptop. (See id., Ex. 4 at 3-4

(dkt. no. 23-4).)

        I also conclude that the State Police would have applied for the warrant solely on the

basis of the information from the laptop investigation. The CyberTipline report and others like it

had been received several months earlier. While police opened and apparently continued an

investigation into those reports, they did not move to seek a search warrant based on them. The

laptop investigation was the more immediate impetus for the search. In particular, the forensic

examination done on the laptop revealed information that there might be a child living in the

defendant’s home in immediate danger of actual sexual abuse. The timeline is also significant.

Trooper Murphy apparently learned of the results of the forensic exam of the laptop computer

either on September 16 or 17, and he applied for the warrant on the 17th. This rather strongly



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suggests that the “proximate cause” (as it were) of the application was the specific information

provided as a result of the laptop investigation, and not the earlier CyberTipline reports.

       The information from the New Hampshire investigation was not stale, contrary to the

defendant’s contention. That investigation had begun less than two months before. There is no

standard measurement for assessing whether information is stale for these purposes. The

affidavit set forth Trooper Murphy’s assertion that his training and experience with child

pornography crimes (detailed in the affidavit) teach that in general “[t]hose who have

demonstrated an interest or preference in sexual activity with children or in sexually explicit

visual images depicting children are likely to keep secreted, but readily at hand, sexually explicit

visual images depicting children,” that “persons trading in, receiving, distributing, or possessing

images or movies involving child pornography will make copies of those files on their

computer’s hard drive or other removable media,” and that “even if the files were deleted by a

user, they still may be recoverable by a trained computer forensic examiner.” (See id., Ex. 3 at

7.) There was evidence that the defendant possessed on his laptop files likely constituting child

pornography at the end of July. These quoted assertions from Trooper Murphy’s experience

supported a conclusion that it was probable that a search in mid-September would yield evidence

of at least past, if not present, possession of similar images. In light of that evidence, the

photograph of the defendant in the presence of other computer equipment was sufficient to

support a finding by the magistrate that it was probable that such equipment was located at the

defendant’s residence.

       Accordingly, I conclude that if the evidence presented in the affidavit from the NCMEC

search were to be excised from the affidavit, there was nonetheless a sufficient factual basis set




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forth, based on the laptop investigation, for the magistrate to have concluded that the issuance of

the requested warrant was adequately supported by probable cause.

VII.   Good Faith and the Exclusionary Rule

       Evidence obtained in violation of the Fourth Amendment may not be used against a

defendant in a criminal prosecution. Weeks v. United States, 232 U.S. 383, 398 (1914). The

exclusionary rule, however, is not a remedy for a completed private wrong, but a practical means

of deterring future unlawful behavior by agents of the government. United States v. Calandra,

414 U.S. 338, 347 (1974). The Supreme Court has observed that “[t]he deterrent purpose of the

exclusionary rule necessarily assumes that the police have engaged in willful, or at the very least

negligent, conduct” to deprive a defendant of a guaranteed right. United States v. Peltier, 422

U.S. 531, 539 (1975) (internal quotation marks omitted). As a corollary, the Court has concluded

that the deterrent effect of exclusion of evidence is minimal where an officer has acted on an

objectively reasonable belief that his actions did not violate the Fourth Amendment. United

States v. Leon, 468 U.S. 897 (1984). In Leon, the Court concluded that the exclusionary rule

should not be applied to prevent the use in a criminal prosecution of evidence obtained by

officers whose reliance on a warrant issued by a magistrate was objectively reasonable, even

though it was later determined that probable cause for the issuance of the warrant was lacking.

“Penalizing the officer for the magistrate’s error, rather than his own, cannot logically contribute

to the deterrence of Fourth Amendment violations.” Id. at 921.

       In Leon, the officers acted in objectively reasonable reliance on a warrant issued by a

magistrate. 5 The Court has also held that the exclusionary rule should not be applied to suppress



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 I have concluded that the Murphy affidavit contained a sufficient basis for a finding of probable
cause to search the defendant’s residence even if the NCMEC information were disregarded and
only the information from the laptop investigation were considered. If that conclusion is wrong
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evidence obtained by officers who acted in objectively reasonable reliance on a statutory scheme

that authorized warrantless administrative searches, even though the statute was later found to

violate the Fourth Amendment. Illinois v. Krull, 480 U.S. 340 (1987). That is similar to this case.

Congress has by statute given NCMEC’s CyberTipline a significant role in the investigation and

subsequent prosecution of child pornography crimes, and has directed that it be supported by

government grants. While I have concluded that NCMEC conducts its CyberTipline program as

an agent of law enforcement so that its inspections of the content of emails are subject to the

Fourth Amendment, it still must be acknowledged that those who heretofore regarded NCMEC’s

role only as that of a private party, so that the Fourth Amendment was inapplicable, were not

acting in willful or negligent disregard of constitutional principles, but rather pursuant to a view

of NCMEC’s statutorily sanctioned role and activity that was, under all the circumstances,

objectively reasonable, just as the officers’ view of the statutory scheme was found to be in

Krull. In that case the Court explained that “evidence should be suppressed only if it can be said

that the law enforcement officer had knowledge, or may properly be charged with knowledge,

that the search was unconstitutional under the Fourth Amendment.” Krull, 480 U.S. at 348-49

(internal quotation marks and citation omitted).

       There is nothing in the record in this case that would suggest either NCMEC or the police

or the magistrate who issued the warrant knew or ought to have known that by relying on the

CyberTipline report they were doing something that was unconstitutional under the Fourth

Amendment. No persuasive argument can be made that an organization like NCMEC needs to be

deterred from acting in good faith in a way that is consistent with explicit congressional will.




and the warrant was improperly issued, nonetheless the reliance of the State Police on the
warrant was objectively reasonable under Leon, and the evidence should not be excluded.
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       Moreover, any possible deterrent value from applying the exclusionary rule must be

weighed against the “substantial social costs” of suppressing the evidence. See Leon, 468 U.S. at

907; see also Herring v. United States, 555 U.S. 135, 141-42 (2009). The Supreme Court has

cautioned that the exclusionary rule

       almost always requires courts to ignore reliable, trustworthy evidence bearing on
       guilt or innocence. And its bottom-line effect, in many cases, is to suppress the
       truth and set the criminal loose in the community without punishment. Our cases
       hold that society must swallow this bitter pill when necessary, but only as a “last
       resort.”

Davis v. United States, -- U.S. --, 131 S. Ct. 2419, 2427 (2011) (internal citations omitted). In

this case, where the likely deterrent value of exclusion is so minimal, the balance tips decidedly

against suppression.

VIII. Summary

       To summarize my major conclusions as to contested issues:

       1. In monitoring its network email traffic using its Image Detection and Filtering Process,

AOL was acting for its private purposes, and the Fourth Amendment did not apply.

       2. In examining the contents of the emailed image file from the defendant’s computer that

was uploaded to its CyberTipline server, NCMEC was acting as an agent of federal law

enforcement, and the Fourth Amendment applied.

       3.   Accordingly, NCMEC’s examination of the contents of that emailed image file

violated the Fourth Amendment because it was not authorized by a duly issued warrant (or by

some constitutionally adequate substitute).

       4. Probable cause for the issuance of the search warrant in this case was nevertheless

adequately supported by facts in the affidavit concerning the defendant’s laptop, and the warrant

would more likely than not have been applied for and issued even if no information from the



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CyberTipline had been included in the affidavit. For this reason, the Fourth Amendment

violation by NCMEC did not affect the validity of the warrant.

       5. Even if the Fourth Amendment violation by NCMEC were deemed to have affected

the validity of the warrant, considering all the circumstances, the exclusionary rule should not be

applied to suppress the fruits of the search.

       For all the reasons set forth above, the defendant’s Motion to Suppress Evidence (dkt. no.

22) is DENIED.

       It is SO ORDERED.

                                                     /s/ George A. O’Toole, Jr.
                                                     United States District Judge




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